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1    RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
2    JULIET Y. OH (SBN 211414)
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6
     Attorneys for Chapter 11 Debtors and
7    Debtors-in-Possession
8

9                         UNITED STATES BANKRUPTCY COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11                                  SANTA ANA DIVISION
12

13   In re:                                    Lead Case No.: 8:21-bk-10958-ES
14
     PLAMEX INVESTMENT, LLC, a                 Jointly administered with 3100 E. Imperial
15   Delaware limited liability company,       Investment, LLC (8:21-bk-10957-ES)

16          Debtor and Debtor in Possession.   Chapter 11 Cases
     _________________________________
17
     In re:                                    DEBTORS’ OPPOSITION TO, AND
18                                             REQUEST FOR HEARING ON, SECURED
     3100 E. IMPERIAL INVESTMENT,              CREDITOR’S APPLICATION FOR AN
19   LLC, a Delaware limited liability         ORDER   TO     TAKE   RULE    2004
     company,                                  EXAMINATIONS        AND     ISSUE
20                                             DISCOVERY;     DECLARATION     OF
           Debtor and Debtor in Possession.    MONICA Y. KIM IN SUPPORT THEREOF
21
     _________________________________
22                                             [Hearing Requested]
        Affects both Debtors
23
       Affects Plamex Investment, LLC only
24
       Affects 3100 E. Imperial Investment,
25
     LLC only
26
27

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1           Plamex Investment, LLC, a Delaware limited liability company (“Plamex”), and 3100 E.

2    Imperial Investment, LLC, a Delaware limited liability company (“3100,” and together with

3    Plamex, the “Debtors”), the debtors and debtors-in-possession in the above-captioned, jointly

4    administered chapter 11 bankruptcy cases, respectfully submit their opposition to Secured

5    Creditor’s Application For An Order To Take Rule 2004 Examinations And Issue Discovery

6    [Doc. No. 89] (the “2004 Motion”) filed by Wells Fargo Bank, National Association, as Trustee

7    for Morgan Stanley Capital I Trust 2016-UBS11, Commercial Mortgage Pass-through

8    Certificates, Series 2016-UBS11, and on Behalf of th4e Holders of any Related Serviced

9    Subordinate Companion Loan or Serviced Companion Loan (“Wells Fargo”).

10                                                     I.

11                                            INTRODUCTION

12          The relief requested in the 2004 Motion by Wells Fargo, which is a secured creditor of

13   Plamex only and holds no claim whatsoever against 3100, is overly broad, unreasonably

14   burdensome and onerous to the Debtors, and appears to be intended to harass and/or distract the

15   Debtors at a critical juncture in their bankruptcy cases (i.e., just as the Debtors are proceeding with

16   the retention of a real estate broker and commencing a marketing and sale process). Although

17   Wells Fargo has indicated that it intends to object to the Debtors’ application to employ NAI Capital

18   Commercial, Inc. (“NAI Capital”) as their real estate broker, and the relief requested in the 2004

19   Motion is presumably based upon such pending objection, the scope of the requested oral

20   examinations (both of them) and document productions reach far beyond the issues raised by the

21   Debtors’ application to employ NAI Capital.

22          The filing of the 2004 Motion by Wells Fargo is particularly troubling given that Plamex has

23   already voluntarily produced many of the documents requested in the 2004 Motion pursuant to an

24   earlier “informal” request from Wells Fargo which listed exactly the same 27 categories of

25   documents listed in Attachment B to the 2004 Motion. In addition, Plamex has been voluntarily

26   providing (and is continuing to provide) extensive monthly financial and operational reporting to
27   Wells Fargo in compliance with the terms of the parties’ cash collateral stipulation. Given the large

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                                                       2
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1    amount of information and documentation that Plamex has already voluntarily produced to Wells

2    Fargo, and given that Wells Fargo has no real risk in these cases since it is protected by a 50%-plus

3    equity cushion in Plaza Mexico (i.e., an equity cushion of more than $60 million, based upon Wells

4    Fargo’s own commissioned appraisal), the relief requested in the 2004 Motion is “overkill” and

5    should be denied or, at a minimum, should be limited substantially by the Court.

6                                                         II.

7                                                ARGUMENT

8    A.       Wells Fargo Is Not A Creditor Or Party In Interest In 3100’s Case And Is Therefore

9             Not Entitled To Examine 3100.

10            Although the 2004 Motion indicates that Wells Fargo seeks to examine both of the Debtors,

11   Wells Fargo is a secured creditor of Plamex only and holds no claim whatsoever against 3100.1

12   Since Wells Fargo is not a creditor of 3100 or otherwise a “party interest” in 3100’s case, Wells

13   Fargo should not be permitted to examine 3100 under Rule 2004 of the Federal Rules of

14   Bankruptcy Procedure (the “Bankruptcy Rules”). See Bank One, Columbus, N.A. v. Hammond (In

15   re Hammond), 140 B.R. 197, 201 (S.D. Ohio 1992) (creditor of debtor is a “party in interest” under

16   Bankruptcy Rule 2004); In re Summit Corp., 891 F.2d 1 (a prospective purchaser of debtor’s asset is

17   a “party in interest” under Bankruptcy Rule 2004).

18   B.       Wells Fargo Should Not Be Permitted To Use Bankruptcy Rule 2004 To Obtain

19            Discovery For Use In Its State Court Action Against The Debtors’ Principals.

20            On May 24, 2021, Wells Fargo filed a complaint against the Debtors’ principals, Donald

21   Chae and Min Chae, in the Supreme Court of the State of New York, County of New York (the

22   “State Court Action”), based upon the personal guaranties provided by Donald Chae and Min

23

24
          1
           Pursuant to Rule 201 of the Federal Rules of Evidence (“Evidence Rules”), the Debtors
     respectfully request that the Court take judicial notice of the Declaration Of Donald Chae In
25   Support Of Debtor’s Emergency Motion For Entry Of An Interim Order, Pending A Final
     Hearing, Authorizing The Debtor To Use Cash Collateral [Doc. No. 8] and all exhibits thereto,
26   including, without limitation, the loan agreement between Plamex and Wells Fargo’s predecessor-
     in-interest. The loan agreement and other related documents reflect that Plamex is the sole
27   borrower under the loan described therein (the “Loan”), and that 3100 is neither a borrower under
     the Loan nor a guarantor of the Loan.
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1    Chae relating to Plamex’s obligations under the Loan. A true and correct copy of the complaint

2    filed by Wells Fargo to commence the State Court Action is attached as Exhibit 1 hereto.

3           As noted above, Wells Fargo has no real risk in Plamex’s bankruptcy case since it is

4    protected by a large equity cushion in Plaza Mexico, a 403,242 square-foot community shopping

5    center offering specialty retail and dining located in Lynwood, California which is owned by

6    Plamex. As reflected in the proof of claim filed by Wells Fargo in Plamex’s bankruptcy case, 2

7    Wells Fargo asserts a collective claim of approximately $108,000,000, which claim is secured by

8    a first priority security interest and lien in Plaza Mexico.     Based upon a recent appraisal

9    commissioned by the servicer of the Loan held by Wells Fargo, the fair market value of Plaza

10   Mexico is at least $170,000,000. Given the value of the Plaza Mexico property (i.e., not less than

11   $170,000,000) and the amount currently owed to Wells Fargo (i.e., approximately $108,000,000),

12   Wells Fargo is adequately protected by an equity cushion of more than $60,000,000, which

13   equates to an equity cushion of more than 50%.         Given this level of protection, and the

14   corresponding lack of risk that Wells Fargo has in Plamex’s bankruptcy case, it is unclear why or

15   for what purpose Wells Fargo is seeking to use Bankruptcy Rule 2004 to conduct its “fishing

16   expedition” in these cases.

17          The timing and breadth of the 2004 Motion suggest that Wells Fargo is attempting to

18   utilize the broad scope of a Rule 2004 examination to obtain information and documentation that

19   it can then use in the State Court Action against the Chaes, a tactic which courts have repeatedly

20   rejected. See In re Snyder, 52 F.3d 1067 (5th Cir. 1995) (district court held that the bankruptcy

21   court did not abuse its discretion in denying production under a Rule 2004 request where the

22   appellant’s primary motivation was to use the requested materials in a state court action against

23   the examinee); In re Coffee Cupboard, Inc., 128 B.R. 509, 515-17 (Bankr. E.D.N.Y. 1991) (“Rule

24   2004 examinations should not be used to obtain information for use in an unrelated case or

25   proceedings pending before another tribunal”).

26      2
          Pursuant to Evidence Rule 201. the Debtors respectfully request that the Court take judicial
27   notice of the proof of claim filed by Wells Fargo in Plamex’s bankruptcy case, which proof of
     claim is denominated as Claim Number 1 in the claims register for Plamex.
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1    C.     The Scope Of The Requested Examinations And Document Productions Is Overly

2           Broad, And Unreasonably Burdensome And Onerous.

3           “Bankruptcy Judges have significant discretion in deciding whether to allow [a]

4    Bankruptcy Rule 2004 examination.” In re Lewis, 1994 WL 125201, at *3 (N.D. Cal. Mar. 31,

5    1994); In re DeShetler, 453 B.R. 295, 301 (Bankr. S.D. Ohio 2011) (same). See also In re J & R

6    Trucking, Inc., 431 B.R. 818, 821 (Bankr. N.D. Ind. 2010) (“whether or not the court allows the

7    examination is a matter committed to its discretion … and requires a sufficient cause”).

8           Courts recognize limits including those posed by the debtor’s limited resources and do not

9    rubber stamp requests for subpoenas. It is hornbook law that “a Rule 2004 examination must be

10   both ‘relevant and reasonable’ and ‘may not be used to annoy, embarrass or oppress the party

11   being examined.’” In re Farris-Ellison, 2015 WL 5306600, at *3 (citing In re Symington, 209

12   B.R. 678, 685 (Bankr. D. Md. 1997)). Wells Fargo’s requests, as set forth in the 2004 Motion, are

13   overly broad, unreasonably burdensome and onerous to the Debtors, and appear to be intended to

14   harass and/or distract the Debtors at a critical juncture in their bankruptcy cases, i.e., just as the

15   Debtors are proceeding with the retention of a real estate broker and commencing a marketing and

16   sale process.   Although Wells Fargo has indicated that it will be objecting to the Debtors’

17   application to employ NAI Capital as their real estate broker, which is presumably the impetus for

18   the 2004 Motion, the scope of the requested oral examinations and document productions reaches

19   far beyond the issues raised by the Debtors’ application to employ NAI Capital.

20          The overreaching scope of the examination sought by Wells Fargo is demonstrated by a

21   sampling of the topics listed in Attachment 1 of the 2004 Motion. Such topics include, among

22   others, “dealings with existing, expiring and/or prospective leases[,]” “Debtors’ ability to

23   reorganize[,]” and “claims of Debtors’ creditors[.]” Similarly, the document production requests

24   sought to be approved by the 2004 Motion include, among many others, “[a]ll documents not yet

25   produced that relate to the Debtors’ financial condition,” “[a]ll documents, including

26   communications, that relate to renewal or extension of leases, forbearances, rent reductions, rent
27   modifications, rent abatement, and/or plans for collecting past-due rent[,]” “[a]ll documents,

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1    including communications, that relate to the Debtors’ efforts to secure new or amended leases for

2    the Property[,]” “[a]ll documents, including communications, regarding efforts to lease any vacant

3    spaces at the Property[.]” While these requests would not be much of an issue if Plamex owned

4    real property with one or a few tenants, Plaza Mexico is comprised of more than 400,000 square

5    feet and currently has over 200 tenants, which figure does not take into account the numerous

6    former tenants and prospective new tenants of Plaza Mexico. As a result, if the 2004 Motion were

7    to be granted by the Court as requested, the limited personnel available to Plamex (and potentially

8    3100) would be forced to spend a huge amount of time to potentially produce volumes of

9    documents, which ultimately provide little benefit to Wells Fargo, who as noted above, has no real

10   risk in the Debtors’ cases.

11          A Bankruptcy Rule 2004 exam that is more burdensome to the Debtors than beneficial to

12   the creditor should not be permitted to go forward. See, e.g., In re Mathews, supra, 2018 WL

13   5024167, at **2-3. A Rule 2004 movant “does not have unlimited power to investigate anything

14   he wishes without articulating a proper basis for the examination.” Id. (granting motion to quash

15   Rule 2004 subpoena because 2004 exam sought confidential financial information of private third

16   parties) (citing In re Fearn, 96 B.R. 135, 138 (Bankr. S.D. Ohio 1989) (“While the scope of Rule

17   2004 examination is very broad, it is not limitless. The examination should not be so broad as to be

18   more disruptive and costly to the party sought to be examined than beneficial to the party seeking

19   discovery”)); In re Texaco Inc., 79 B.R. 551, 553 (Bankr. S.D.N.Y. 1987) (the “requested

20   examination should not encompass matters that will be unduly burdensome to the debtor...”).

21          The filing of the 2004 Motion by Wells Fargo is particularly troubling given that Plamex has

22   already requested – and the Debtor has already voluntarily produced – the documents requested in

23   the 2004 Motion pursuant to an earlier “informal” letter request from Wells Fargo (the “WF Letter

24   Request”), which listed exactly the same 27 categories of documents listed in Attachment B to the

25   2004 Motion. A true and correct copy of the WF Letter Request dated May 21, 2021 is attached as

26   Exhibit 2 hereto. On June 6, 2021, in response to the WF Letter Request, the Debtor provided
27   Wells Fargo with an electronic data link containing twenty (20) separate folders with responsive

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1    documents and information, organized and enumerated by the request numbers set forth in the WF

2    Letter Request. It is therefore confounding that Wells Fargo has filed its 2004 Motion, which

3    contains the exact same 27 categories of documents listed in the WF Letter Request (to which the

4    Debtors had already provided a comprehensive response). The duplicate document request sought

5    by the 2004 Motion would be of little benefit to Wells Fargo (since it has already received

6    responsive documents from the Debtors) and would only place an additional heavy burden on

7    already overburdened debtors.

8           The 2004 Motion includes one additional category of documents that was not included in

9    the WF Letter Request – “[a]ny correspondence with potential brokers (including, but not limited to

10   NAI Capital Commercial) relating to a retention or agreement to sell the Property.” The Debtors

11   have previously offered to have Wells Fargo and its agents interview Chris Jackson, who is a

12   principal of NAI Capital and one of the brokers who will be responsible for representing the

13   Debtors in connection with the marketing and sale of Plaza Mexico. To date, Wells Fargo has

14   declined to take the Debtors up on that offer, which calls into question whether Wells Fargo is

15   actually looking to obtain the information that it claims it is seeking pursuant to the 2004 Motion or

16   whether Wells Fargo has a different motive in bringing the 2004 Motion.

17          Furthermore, Plamex has been voluntarily providing (and is continuing to provide)

18   extensive monthly financial and operational reporting to Wells Fargo in compliance with the terms

19   of the parties’ cash collateral stipulation. The monthly reporting package provided to Wells Fargo

20   includes, among other documents, (i) consolidated balance sheet as of the ending date of the month;

21   (ii) consolidated statement of operations for the calendar year to date; (iii) accounts receivable aging

22   report (which tracks four months of accounts receivable activity); (iv) monthly rent collections

23   report; (v) open accounts payable report; and (vi) monthly bank statements for all of the bank

24   accounts maintained by the Debtors.

25          Given the large volume of information and documentation that the Debtors have already

26   voluntarily produced to Wells Fargo in response to Wells Fargo’s earlier duplicative request, given
27   that Wells Fargo has no real risk in these cases since it is protected by a very large equity cushion in

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1    Plaza Mexico, and given the onerous, disruptive, and time-consuming nature of Wells Fargo’s

2    overly broad request for examinations and documents, the Debtors request that the Court exercise

3    its discretion to deny the 2004 Motion in its entirety or, alternatively, to substantially limit the scope

4    of the requested examinations and documents requested by Wells Fargo in the 2004 Motion.

5                                                       III.

6                                               CONCLUSION

7            Based upon the foregoing, the Debtors respectfully request that this Court enter an order:

8            (1)     denying the 2004 Motion or, alternatively, setting a hearing on the 2004 Motion to

9    consider the permissible scope of the examinations and document productions requested in the 2004

10   Motion; and

11           (2)     granting such further relief as the Court deems just and proper.

12   Dated: June 18, 2021                            PLAMEX INVESTMENT, LLC
13                                                   3100 E. IMPERIAL INVESTMENT, LLC

14
                                                     By:       /s/ Juliet Y. Oh
15                                                             RON BENDER
                                                               MONICA Y. KIM
16
                                                               JULIET Y. OH
17                                                             LEVENE, NEALE, BENDER, YOO
                                                                   & BRILL L.L.P.
18                                                             Attorneys for Chapter 11 Debtors and
                                                               Debtors-in-Possession
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1                               DECLARATION OF MONICA Y. KIM

2           I, Monica Y. Kim, hereby declare as follows:

3           1.      I have personal knowledge of the facts set forth below and, if called to testify, I

4    would and could competently testify thereto. Capitalized terms not otherwise defined herein shall

5    have the same meanings ascribed to such terms in the “Debtors’ Opposition To, And Request For

6    Hearing On, Secured Creditor’s Application For An Order To Take Rule 2004 Examinations And

7    Issue Discovery” to which this Declaration is attached.

8           2.      I am a partner of the law firm of Levene, Neale, Bender, Yoo & Brill L.L.P.

9    (“LNBYB”), bankruptcy counsel of record for Plamex Investment, LLC, a Delaware limited

10   liability company (“Plamex”), and 3100 E. Imperial Investment, LLC, a Delaware limited liability

11   company (“3100,” and together with Plamex, the “Debtors”), the debtors and debtors-in-

12   possession herein. I am an attorney licensed to practice law in the State of California, in the

13   United States District Court and the Bankruptcy Courts for the Southern, Central, Northern and

14   Eastern Districts of California, and in the United States Court of Appeals for the Ninth Circuit.

15          3.      I am advised and believe that, on May 24, 2021, Wells Fargo filed a complaint

16   against the Debtors’ principals, Donald Chae and Min Chae, in the Supreme Court of the State of

17   New York, County of New York (the “State Court Action”), based upon the personal guaranties

18   provided by Donald Chae and Min Chae relating to Plamex’s obligations under the Loan. A true

19   and correct copy of the complaint filed by Wells Fargo to commence the State Court Action is

20   attached as Exhibit 1 hereto.

21          4.      On May 21, 2021, I received the letter attached Exhibit 2 hereto from counsel for

22   Wells Fargo (the “WF Letter Request”), which letter requested 27 categories of information and

23   documents, which appear to be identical to the categories of documents listed in Attachment B to

24   Wells Fargo’s 2004 Motion.

25          5.      On June 6, 2021, in response to the WF Letter Request, I sent an email to counsel

26   for Wells Fargo with an electronic data link provided by the Debtor, which contained twenty (20)
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 1   separate folders with responsive documents and information, organized and enumerated by the

 2   request numbers set forth in the WF Letter Request.

 3          6.      Our office relayed to Wells Fargo’s counsel the Debtors’ offer to have Wells Fargo

 4   and its agents interview Chris Jackson, who is a principal of NAI Capital and one of the brokers

 5   who will be responsible for representing the Debtors in connection with the marketing and sale of

 6   Plaza Mexico. To date, Wells Fargo has declined to take the Debtors up on that offer.

 7          7.       In addition, Plamex has been voluntarily providing (and is continuing to provide)

 8   extensive monthly financial and operational reporting to Wells Fargo in compliance with the

 9   terms of the parties’ cash collateral stipulation. The monthly reporting package provided to Wells

10   Fargo includes, among other documents, (i) consolidated balance sheet as of the ending date of

11   the month; (ii) consolidated statement of operations for the calendar year to date; (iii) accounts

12   receivable aging report (which tracks four months of accounts receivable activity); (iv) monthly

13   rent collections report; (v) open accounts payable report; and (vi) monthly bank statements for the

14   bank accounts maintained by the Debtors. I forwarded to Wells Fargo’s counsel the most recent

15   monthly reporting package (covering the month of May, 2021) on June 15, 2021.

16          I declare under penalty of perjury under the laws of the United States of America that the

17   foregoing is true and correct.

18          Executed this 18th day of June, 2021, at Los Angeles, California.

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                                                  MONICA Y. KIM
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                                                                                                Amir Gamliel
May 21, 2021
                                                                                    AGamliel@perkinscoie.com
                                                                                          D. +1.310.788.3276
                                                                                          F. +1.310.843.1246




VIA E-MAIL

Monica Kim, Esq.
Levene, Neale, Bender, Yoo & Brill L.L.P.
C/O Monica Y. Kim
10250 Constellation Blvd., Suite 1700
Los Angeles, California 90067

Re:                In re Plamex Investment, LLC, Case No. 8:21-bk-10958
                   In re 3100 E. Imperial Investment, LLC, Case No. 8:21-bk-10957

Dear Monica,

        As you know, this firm represents Wells Fargo Bank, National Association, as Trustee for
Morgan Stanley Capital I Trust 2016-UBS11, Commercial Mortgage Pass-Through Certificates,
Series 2016-UBS11, and on Behalf of the Holders of any Related Serviced Subordinate
Companion Loan or Serviced Companion Loan (the “Lender”), in the jointly administered chapter
11 cases of Plamex Investment, LLC and 3100 E. Imperial Investment, LLC (together, the
“Debtors”). To that end, and consistent with Lender’s rights under Sections 2.C. and 2.E. of the
Stipulation Regarding Use of Cash Collateral [ECF No. 71, Ex. A], we request that the Debtors
produce the following information and documents to us in a mutually agreeable time frame no
longer than two weeks from today:


         1.        All documents not yet produced that relate to the Debtors’ financial condition, such
                   as monthly cash flow reports, profit and loss statements, balance sheets, tax returns,
                   bank statements, rent rolls, operating reports, and accounts payable and accounts
                   receivable aging schedules for 2021.

         2.        All documents, including correspondence, that relate to the note receivable from
                   Source at Beach, LLC in the amount of $10,395,409, as identified in the ISLT
                   Investment, LLC and Subsidiaries Consolidated (Unaudited) Balance Sheet dated
                   April 30, 2021 (the “April Balance Sheet”).

         3.        All documents, including correspondence, that relate to the $71,192,658 that is “due
                   from affiliates” and is identified as an “other asset” in the April Balance Sheet.

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         4.        All documents, including correspondence, that relate to the $18,000,000
                   “Members’ equity subject to mandatory redemption” that is scheduled as a liability
                   in the April Balance Sheet.

         5.        All pre-petition and post-petition budgets, including drafts of budgets, prepared by
                   the Debtors for 2020 and 2021.

         6.        All non-privileged documents, including correspondence, that relate to, or provide
                   evidence of, the Debtors’ efforts to obtain refinancing, third-party investors, and/or
                   buyers in connection with the Plaza Mexico shopping center (the “Property”).

         7.        All documents, including correspondence, that relate to the value of the Property,
                   or any portion thereof, including any appraisal reports and/or broker’s opinions of
                   value.

         8.        All documents, including correspondence, that relate to the possible retention of
                   any loan broker or real estate broker or agent by the Debtors.

         9.        All documents, including correspondence, that relate to a potential sale of the
                   Property, including, but not limited to, any listing, offering memorandum, letter of
                   intent, memorandum of understanding, or similar documents relating to any sale,
                   investment in, or refinancing of the Property.

         10.       A detailed breakdown of monthly revenue generated by leases on the Property in
                   2021 that identifies base rent, percentage rent, reimbursable revenue, CAM
                   payments, and other revenue sources recoverable under the leases.

         11.       A detailed breakdown of monthly operating expenses for the Property in 2021,
                   including insurance, repairs and maintenance, janitorial, utilities, management fee,
                   marketing, professional fees, and other operating expenses.

         12.       All documents, including communications, that relate to renewal or extension of
                   leases, forbearances, rent reductions, rent modifications, rent abatement, and/or
                   plans for collecting past-due rent. In particular, please provide a brief statement or
                   summary regarding the status of negotiations or collection efforts with respect to
                   each of the following leases/tenants:


               •    Mauro Valdez Sandoval (expired)                •   Pho VNK
               •    S.M. Foot Wear (expired)                       •   Marquez Trading
               •    Pescaderia y Cocina (expired)                  •   Rinconcito Poblano
               •    Diana Roman (expired)                          •   Say Cheese Photo
               •    Bionicos La Huerta (expired)                   •   Nueva Vision
               •    Food 4 Less                                    •   New Trends Cloth
               •    Real De Oaxaca                                 •   Planet Fitness
               •    Bubbles Apparel                                •   La Huasteca

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               •    Star Buffet Lynwood                            •   COMEX Korean BBQ LLC
               •    JPL Event Enterprises



         13.       An accounts receivable aging schedule for all tenants on the Property, which should
                   identify all tenants that did and did not pay April 2021 rent.

         14.       All documents, including communications, that relate to the Debtors’ efforts to
                   secure new or amended leases for the Property.

         15.       All documents, including communications, regarding efforts to lease any vacant
                   spaces at the Property.

         16.       All documents that refer to any post-petition projections as to future cash flow that
                   is expected from the Property.

         17.       All real estate tax bills for 2020 and 2021 that the Debtors have received in
                   connection with the Property.

         18.       All documents, including correspondence, that relate to payments or distributions
                   made by the Debtors to insiders (as defined by Section 101(31) of the Bankruptcy
                   Code) or non-debtor affiliates during the two-year period prior to the Debtors’
                   bankruptcy filings, including, but not limited to, internal communications regarding
                   payments, distributions, dividends, invoices, and agreements.

         19.       All documents, including correspondence, that relate to payments made by the
                   Debtors to legal professionals in connection with services provided to non-debtor
                   affiliates during the one-year period prior to the Debtors’ bankruptcy filing.

         20.       All non-privileged documents, including correspondence, that relate to 3100 E.
                   Imperial Investment, LLC’s default(s) under the Mezzanine Loan Agreement dated
                   as of June 16, 2016, between 3100 E. Imperial Investment, LLC, as Borrower, and
                   Natixis, New York Branch, as Lender, including documents that relate to the lender
                   exercising any default remedies or agreeing to any forbearance(s), and/or
                   documents that relate to the borrower applying for refinancing of the mezzanine
                   loan.

         21.       All environmental reports, including Phase I and Phase II environmental studies,
                   prepared in connection with the Property.

         22.       All documents, including correspondence, that relate to any claims, causes of
                   action, obligations, demands, lawsuits, threatened lawsuits, and liabilities, sounding
                   in contract or in tort, in law or in equity, that have been tendered to the Debtors
                   since April 2020.



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         23.       All property management agreements, including amendments thereto, that relate to
                   the Property.

         24.       All documents, including correspondence, that relate to the ($1,080,000) preferred
                   return identified in the ISLT Investment, LLC and Subsidiaries Consolidated
                   Statement of Operations for the fourth months ended April 30, 2021.

         25.       All documents, including correspondence, that relate to the Debtors’ capital
                   expenditure plans for the Property.

         26.       A corporate organizational chart that relates to the Debtors and their non-debtor
                   affiliates.

         27.       Any property condition report(s) that relate to the Property.

        Please let us know if you have any questions or concerns regarding the foregoing document
requests. Please note that the Lender may supplement these requests as necessary, including
pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, during the course of its
review.

Sincerely,




Amir Gamliel

cc:      David Neff (via e-mail)
         Ariel Levin (via e-mail)
         Jake Hamel (via e-mail)




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                                   PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

 3   A true and correct copy of the foregoing document entitled DEBTORS’ OPPOSITION TO, AND
     REQUEST FOR HEARING ON, SECURED CREDITOR’S APPLICATION FOR AN ORDER TO TAKE
 4   RULE 2004 EXAMINATIONS AND ISSUE DISCOVERY; DECLARATION OF MONICA Y. KIM IN
     SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
 5   required by LBR 5005-2(d); and (b) in the manner stated below:

 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On June 20, 2021, I checked the CM/ECF docket for this bankruptcy case or
     adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
 8   receive NEF transmission at the email addresses stated below:

 9       •     Ron Bender rb@lnbyb.com
         •     Amir Gamliel amir-gamliel-9554@ecf.pacerpro.com,
10             cmallahi@perkinscoie.com;DocketLA@perkinscoie.com
         •     Nancy S Goldenberg nancy.goldenberg@usdoj.gov
11       •     Monica Y Kim myk@lnbyb.com, myk@ecf.inforuptcy.com
         •     Daniel A Lev dlev@sulmeyerlaw.com,
12             ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
         •     Juliet Y Oh jyo@lnbyb.com, jyo@lnbrb.com
13       •     Robert E Opera ropera@wghlawyers.com,
               jmartinez@wghlawyers.com;mweinberg@wghlawyers.com
14       •     Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com
         •     Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
15       •     United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

     2. SERVED BY UNITED STATES MAIL: On June 20, 2021, I served the following persons and/or
16   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
     and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
17   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
18
     None.
19
                                                                             Service information continued on attached page
20
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
21   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
     on June 20, 2021, I served the following persons and/or entities by personal delivery, overnight mail
22   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
23   mail to, the judge will be completed no later than 24 hours after the document is filed.

24   None.

25   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
26
      June 20, 2021                       Stephanie Reichert                            /s/ Stephanie Reichert
27    Date                                Type Name                                     Signature

28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
